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 6   Attorneys for Defendant
     KIEDOCK KIM
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                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                            EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                     CASE NO: 2:10-CR-0255 GEB

12                      Plaintiff,
                                                   STIPULATION AND [PROPOSED]
13         v.                                      ORDER CONTINUING STATUS
                                                   CONFERENCE AND EXCLUDING
14   FRENCH GULCH NEVADA MINING                    TIME UNDER THE SPEEDY TRIAL
     CORPORATION, BULLION RIVER                    ACT
15   GOLD CORPORATION, PETER                       _______________________________
     MARTIN KUHN, and KIEDOCK KIM,
16
                        Defendants.
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     _____________________________/
18

19         The defendant, KIEDOCK KIM, through his counsel of record, Segal & Kirby

20   LLP, and plaintiff United States of America, through its counsel, Assistant United

21   States Attorney Samuel W ong, agree and stipulate that the Status Conference

22   currently set for October 15, 2010, at 9:00 a.m. may be continued to December 17,

23   2010, at 9:00 a.m. in order to permit the parties to review and complete the

24   exchange of discovery, to allow the defense to review the voluminous discovery

25   provided to date, and to prepare the case for further proceedings.

26         The parties agree a continuance is necessary for these purposes, and

27   accordingly, both parties further agree and stipulate that time should be excluded

28   from October 15, 2010 through December 17, 2010 from computation under the
                                       1
         STIPULATION AND [PROPOSED] ORDER CONTINUING STATUS CONFERENCE AND
                      EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT
       Case 2:10-cr-00255-TLN Document 22 Filed 10/13/10 Page 2 of 3

 1   Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code

 2   T4 (ongoing preparation of defense counsel) due to the need to provide defense

 3   counsel with the reasonable time to prepare taking into account the exercise of due

 4   diligence.

 5         IT IS SO STIPULATED.

 6
     Dated: October 12, 2010                Respectfully submitted,
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                                            SEGAL & KIRBY LLP
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 9                                   By:    /s/ Malcolm Segal
                                            MALCOLM SEGAL
10                                          Attorneys for Defendant
                                            KIEDOCK KIM
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                                     By:    /s/ Samuel W ong
14   Dated: October 12, 2010                SAMUEL W ONG
                                            Assistant United States Attorney
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17
                                             ORDER
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19         UPON GOOD CAUSE SHOW N and the stipulation of all parties, it is ordered

20   that the Status Conference currently set for October 15, 2010, at 9:00 a.m. be

21   continued to December 17, 2010, at 9:00 a.m.. Based upon the representation of

22   the parties, including defense counsel, and good cause appearing therefrom, the

23   Court hereby finds that it is unreasonable to expect adequate preparation for pretrial

24   proceedings and trial itself within the time limits established in 18 U.S.C. § 3161, and

25   the requested continuance is necessary to provide defense counsel reasonable time

26   necessary for effective preparation, taking into account the exercise of due diligence.

27   The Court finds the ends of justice to be served by granting a continuance outweigh

28   the best interests of the public and the defendant in a speedy trial.
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         STIPULATION AND [PROPOSED] ORDER CONTINUING STATUS CONFERENCE AND
                      EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT
       Case 2:10-cr-00255-TLN Document 22 Filed 10/13/10 Page 3 of 3

 1         It is therefor ordered that the time from October 15, 2010 up to and including

 2   the December 17, 2010 Status Conference shall be excluded from computation

 3   under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and

 4   Local Code T4 (ongoing preparation of defense counsel).

 5   Dated: October 12, 2010
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 7                                       GARLAND E. BURRELL, JR.
                                         United States District Judge
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         STIPULATION AND [PROPOSED] ORDER CONTINUING STATUS CONFERENCE AND
                      EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT
